               Case 1:06-cr-00365-LJO-BAM Document 393 Filed 11/16/17 Page 1 of 2
1

2

3

4

5

6                                         UNITED STATES DISTRICT COURT

7                                 FOR THE EASTERN DISTRICT OF CALIFORNIA

8
     ABDUL BASET JAWAD,                                               1:06-CR-00365-LJO-BAM-1
9
                                    Petitioner,                       ORDER RE REQUEST TO TRAVEL
10
                                                                      (ECF No. 391)1
                            v.
11
     UNITED STATES OF AMERICA,
12
                                    Respondent.
13

14

15              The Court has received and reviewed the Defendant’s request to travel out of the Country. ECF

16 No. 391. Both Probation and the Government object on several grounds, including: (1) the fact that less

17 than 1% of the owed restitution has been paid; and (2) that the business reason given for travel – to

18 market a new automobile purchasing business to auto dealers in the United Arab Emirates –is

19 inappropriate given the Defendant’s history and the specific condition of release prohibiting him from

20 working as a manager at a car dealership.

21              The Court agrees that, without more, the level of restitution paid to date does not alleviate the

22 risk of international travel, particularly to a locale (Palestine) where Defendant has familial ties. Despite

23
     1
         On November 13, 2017, the Court entered an Order identical to this one under a caption bearing the incorrect Defendant’s
24 name. ECF No. 392. The Clerk of Court is directed to strike that document from the record.
                                                                1
25

26
            Case 1:06-cr-00365-LJO-BAM Document 393 Filed 11/16/17 Page 2 of 2
1    the fact that Defendant also has family ties in California, the risk of flight remains real. Moreover,

2    before the Court would even consider permitting Defendant to travel internationally for the proposed

3    business purpose, the Court would require more information about the nature of the business opportunity

4    in order to confirm that Defendant’s planned role will not run afoul of the terms of Defendant’s

5    supervised release.

6

7    IT IS SO ORDERED.

8       Dated:     November 15, 2017                          /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
                                                          2
25

26
